&lt;div class="content"&gt;
    &lt;div class="html-children"&gt;
        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="a07c9a1aa7"&gt;&lt;span data-sentence-id="34b9dfc2f2" quote="false" data-paragraph-id="a07c9a1aa7"&gt; Jose Gonzalez-Sierra, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="41322eb57e" quote="false" data-paragraph-id="a07c9a1aa7"&gt; &lt;br /&gt; The People of the State of Colorado, Respondent &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="11b46e9314"&gt;No. 21SC495&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="c4d2053a5d"&gt;February 28, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="35f94116dc"&gt;&lt;span data-sentence-id="07bba4187b" quote="false" data-paragraph-id="35f94116dc"&gt; Court of Appeals Case No. 17CA1159 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p id="Judge" data-paragraph-id="092d0a17bf"&gt;&lt;span data-sentence-id="49fb915502" quote="false" data-paragraph-id="092d0a17bf"&gt; JUSTICE SAMOUR would grant as to the following issue: &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="84776052d1"&gt;&lt;span data-sentence-id="6a573ec41c" quote="false" data-paragraph-id="84776052d1"&gt; Whether the district court erred when it denied [petitioner's] motion to suppress evidence where any consent to search was rendered involuntary due to existing language barriers and an inadequate advisement by officers to permit a knowing and voluntary waiver of his rights.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
    &lt;/div&gt;
&lt;/div&gt;